                  Case 2:13-cr-00787-SDW                                       Document 90                       Filed 07/10/17                     Page 1 of 1 PageID: 309



    CJA 20 APPOINTMENT OF AND AUTHORITY TO PAY COURT-APPOINTED COUNSEL (Rev. 12/03)
I    FIR DIST DI\ CODE       2 PFRSO\ REPRESE’sTi I)                                                                                     \ OI,’CIIER \L\IBER
                                               LAQUAN REED

         SlAG DK I      DEF NI MBFR                        4 DIST DET DEF \L\IBER                           5    APPEALS      DKl DFF NI. \IBER               6     OTHER   Dk’I \C\IBER
                                                            2:1 3-CR-787-3
“        IN CASE \1 Ill CR OF ‘C ac \anlci                 8 PA’s \lE\T CATEGOR’s                           9    T’s P1    PERSON REPRESI \TED                 10    REPRESENTATION T’s P1
                                                           ‘ Felon’s          Z Pens Otlense                      Adult Defendant         E    Appellanl             (Us l,,sirus lions)

     USA V. LAQUAN REED                                    D Misdemeanor      D Other                       L     Juvenile Defendant      E    Appellee
                                                                                                                                                               cc
II       OFFENSE(S) CHARGED (Cite U S Code, Title & Section) I/more than one offense list /up to Jive) major sfffensei charged ass sirding to severity of ss//cns

     18:1962(d) RACKETEERING CONSPIRACY

12        ATTORNI’s ‘S NAME (ItrstNasne 111 last Vaine including any lu/Jo,)                                13    COURTORDER


          AND MAILING ADDRESS                                                                                   D 0 Appoinling Counsel                        0 C Co-Counsel
                                  k’                                                                            0 F Subs For Federal Defender                 0 R Subs For Retained Allonses
     Za I      uralsil, sq.
                    .
                                                                                                                   P      Subs For Panel Allornev             IC Y Standby Counsel
     Riker Danzig Scherer Hyland & Perretti LLP                                                                           .            James Patton                 Esq.
                                                                                                            Prior Attorns’s s Name
     One Speedwell Avenue                                                                                       Appointment Dates          7/18/2013-7/10/2017
              .

     Morristown, NJ 07962                                                                                    IC Because the abos c-named person represented has testified under oath or has otherss
                                                          /fl7’2\ A           QA
          Telephone Number                                I.’’        ‘
                                                                                                            satisfied this Court thaEh or she (1) is financiallsu ble to emplo counsel and (2) does
                                                                                                            not wish tossars”esousel and because the melesru ofjustice so require the attorney whose
    14    NA\lE AND \IAILING ADDRESS 01 LAW FIRSsI (OttO prui ide per lusts uctiasts)                       name qppg,ahs in IRmj sssomnted 10 rgpresent this person in Ih5ase. OR
                                                                                                                  Other (s)l”l4ians)i
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                                                                                               ,                             / Stg        ref Presid,dge or By Order the Court


                                                                                                                            Daif Order 7                                  Nsinc Pro Tune Date
                                                                                                            Repaymepl or partial’ repaytnent prdered fioi she person represented for iltis sers ice ai time
                                                                                                            appoinrmenr’         E YES /
                               CLAIM FOR SERVICES AND EXPENSES                                                                                        FOR COURT USE ONLY
                                                                                                                        TOTAL             \IATlt TECH               515TH ‘IECH
                                                                                            HOF RS                                                                                        ADDITION SI
            C,,TEGORlES l4ttasls ilei,mlosslusss sf services u’ith s/sites)                                            A’sIOUN’l            ADJLSTED                 ADJUSTED
                                                                                           CL \l\IED                                                                                          5 I 55
                                                                                                                                             HOI RS                          T




          CLAIM STATUS                                                    C Interim Payment Number                                             C Supplemental Payment
           Have you previously applied to the court for compensation aitd or reimbursement for tIns        C YES         C NO               If yes. were you paid?     C YES      U NO
           Oiher ihmami from the Court. have you, or to your kmtossledge has anyone else, received pavmenI (/ompesvsaltoim or an vt hi stg of raluej from any oilier source in connection with this
           representation? U YES           U NO            If es, give details on additional sheets.
           I smear or affirm the truth or correctness of the above statements.

           Signature of Ariortiey                                                                                                                   Dale

                                                                  APPROVFfl W)T PAVM1(’NT — (“flIRT TJ’F flN1V
    2’ IN COURT COMP                          4 OUT OF COURT COMP                  25 TRAVEL EXPENSES                     26 OTHER EXPENSES                       27 TOTAL AMT APPR /CLRT
                                                                                                                                                                  $0.00
    28. SIGNATURE OF THE PRESIDING JUDGE                                                                                  DATE                                    28a. JUDGE CODE


    29. IN COURT COMP.                        30. OUT OF COURT COMP.               31. TRAVEL EXPENSES                    32. OTHER EXPENSES                      33. TOTAL AMT APPROVED
                                                                                                                                                                  $0.00
    34. SIGNATURE OF CHIEF JUDGE, COURT OF APPEALS (OR DELEGATE) Paw eni approved                                         DATE                                    34a. JUDGE CODE
        itt exsel.c si/i/ic .statistor’ ihre.s hold amisuni.
